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Case Name      Conviction Loss Amount Facts                             Guidelines     Sentence          Sentencing Factors2018 Oct-18 PM 03:57
               Statutes                                                 Range          (% reduction from                   U.S. DISTRICT COURT
                                                                                                                               N.D. OF ALABAMA
                                                                                       bottom of the
                                                                                       Guidelines)
US v.          Securities $10.4 million The evidence at trial           108 – 135 mos. 18 mos.           Judge Kiyo Matsumoto
Greebel        Fraud,                   demonstrated that Greebel                      (83% reduction)   described Greebel’s conduct
EDNY           Wire Fraud               assisted his co-defendant, the                                   as “egregious” but also noted
2018                                    CEO of a company                                                 that Greebel’s personal
                                        (Greebel’s client), in                                           history demonstrated him to
                                        defrauding the client of                                         be “truly generous and kind.”
                                        millions of dollars in order to                                  https://www.wsj.com/articles/
                                        repay the investors of a                                         martin-shkrelis-former-
                                        hedge fund the CEO ran.                                          lawyer-sentenced-to-18-
                                                                                                         months-in-prison-1534541458

US v. Fattah   RICO,      $1 million       Fattah accepted an illicit $1   210 – 262 mos. 120 mos.            Judge Harvey Bartle stated
EDPA           Honest                      million dollar loan from a                     (43% reduction)     that Fattah had “done much
2016           Services                    campaign donor for his                                             good, but also engaged in
               Fraud,                      Philadelphia mayoral                                               grave and widespread
               Bank                        campaign to circumvent                                             criminal activity. You abused
               Fraud,                      contribution limits; repaid                                        your trust, time and time
               Mail and                    the loan with funds stolen                                         again.”
               Wire                        from a federal grant to an                                         https://www.politico.com/stor
               Fraud,                      educational non-profit.                                            y/2016/12/chaka-fattah-
               Money                                                                                          sentencing-10-years-232507
               Laundering

US v. Silver   Honest     $4 million       Silver while serving as         262 – 327 mos. 84 mos.             Silver received over $4 million
SDNY           Services                    Speaker of New York State                      (68% reduction)     dollars in payments from the
2018           Fraud,                      Assembly, obtained from a                                          law firms as kickbacks for his
               Hobbs Act                   doctor leads for personal                                          referrals. Judge Valerie E.
               extortion,                  injury cases for a law firm                                        Caproni stated at sentencing,
               Money                       for which he was “of                                               “This crime was driven by
               Laundering                  counsel” and also obtained                                         unmitigated greed. The
                                           from real estate developers                                        bottom line is that Silver
                                           tax certiorari business for                                        wanted to seem to be a man of
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                                    another firm; both law firms                                       the people while he was using
                                    paid referral fees to Silver.                                      his public position to richly
                                    Silver used his position in the                                    line his own pockets.”
                                    NY legislature to award                                            https://www.nytimes.com/201
                                    grants to the doctor and to                                        8/07/27/nyregion/sheldon-
                                    vote for tax legislation that                                      silver-sentencing-prison-
                                    favored the developers. See                                        corruption.html
                                    Generally United States v.
                                    Silver, 864 F.3d 102, 119-124
                                    (2nd Cir. 2017)
US v.       Honest      $175,000    McDonnell and his wife            120 – 151 mos. 24 mos.           The Supreme Court in
McDonnell   Services                accepted lavish gifts (Rolex,                    (80% reduction)   overruling the conviction
EDVA        Fraud,                  use of a Ferrari, and loans)                                       referred McDonnell’s conduct
2014        Hobbs Act               from the CEO for a publicly                                        as “distasteful;” Judge James
            extortion               traded company. In                                                 Spencer stated at sentencing
                                    exchange, McDonnell, in his                                        that McDonnell acted despite
                                    official capacity as the                                           warnings about Williams
                                    Governor of Virginia,                                              from his staff. Judge Spencer
                                    secured meetings for the                                           noted that McDonnell was a
                                    CEO with key Virginia state                                        “generous, decent man who
                                    officials and facilitated the                                      has done a lot of good” and a
                                    CEO handing out $25,000 to                                         sentence within the Guidelines
                                    state officials to be used for                                     range would be “unfair . . .
                                    grant applications.                                                ridiculous.”
                                                                                                       McDonnell v. United States,
                                                                                                       136 S.Ct. 2355 (2016)
                                                                                                       https://www.richmond.com/ne
                                                                                                       ws/virginia/government-
                                                                                                       politics/mcdonnell-trial-
                                                                                                       judge-a-price-must-be-
                                                                                                       paid/article_025024c5-5bbb-
                                                                                                       5ca3-8772-323a12f37e4b.html
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US v.              Federal           $500,000 +          Facts demonstrated a direct             151 – 188 mos. 78 mos.                          The court increased the
Siegelman          Program                               quid pro quo exchange.                                 (48% reduction)                  potential punishment due to
MDAL               Bribery,                              Siegelman solicited a bribe                                                             “systematic and pervasive
2007               Honest                                from the CEO of a publicly                                                              corruption.”
                   Services                              traded hospital in exchange                                                             United States v. Siegelman,
                   Fraud                                 for a seat on a hospital                                                                786 F.3d 1322, 1335 (11th Cir.
                                                         regulatory board.                                                                       2015)
US v.              Federal           $500,000+           Facts demonstrated a direct             151 – 188 mos. 70 mos.                          Siegelman, at 1326.
Scrushy            Program                               quid pro quo exchange.                                 (54% reduction)
MDAL               Bribery,                              Scrushy paid a bribe to
2007               Honest                                Alabama’s Governor in
                   Services                              exchange for a seat on a state
                   Fraud                                 hospital regulatory board.
US v.              Conspiracy        $63 million         The case involved bribes to             188 – 235            60 mos.                    The evidence was that
McNair             , Federal         (value of           county commissioners in                 mos./                (68% reduction;            McNair approved “hundreds
(Public            Program           contract            Jefferson County to secure              63 – 78 mos.1        from the larger            of millions” of dollars in
Official)          Bribery           awarded)/           contracts as part of the                                     loss amount                payments to the
NDAL                                 $851,927            County’s $3 billion sewage                                   attributed to other        contractors/bribe payers.
2006                                 (value of           contract. Evidence at trial                                  defendants)                McNair received envelopes
                                     bribes paid)        demonstrated that McNair                                                                full of cash and free
                                                         was the Commissioner                                                                    contracting work on his
                                                         responsible for approving—                                                              photography businesses.
                                                         among other payments—                                                                   United States v. McNair, et
                                                         change orders to the                                                                    al., 605 F.3d 1152, 1217-24
                                                         contracts, and could select                                                             (11th Cir. 2010)
                                                         consulting engineers through
                                                         a no-bid process. See
                                                         Generally United States v.
                                                         McNair, et al., 605 F.3d 1152,
                                                         1168-75 (11th Cir. 2010).


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 McNair’s PSR calculated his total offense level using the amount of the contract awarded, which resulted in a Guidelines range of 188 – 235 months. However, the trial court
determined the loss amount to be the value of the bribes paid to McNair and calculated his Guidelines range to 63-78 months. Unlike McNair, defendant Swann’s total offense level was
determined based on the profit the bribers received from the contract awarded. Our research indicates that McNair’s Guidelines range as calculated by the court was drastically lower than
other defendants, even defendants who received much lower bribe payments and conferred less benefit on the bribers. The Eleventh Circuit opinion discussing these sentences provides
no explanation for this stark discrepancy in McNair’s Guidelines calculation. See United States v. McNair, 605 F.3d 1152, 1216-34 (11th Cir. 2010).
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US v. Swann   Conspiracy   $42 million/   Swann reported to McNair       188 – 235      102 mos.          Judge Scott Coogler
(Public       , Federal    $23 million    and made recommendations       mos./          (46% reduction)   sentenced Swann to 102
Employee)     Program      (profit from   regarding the contracts and    151 – 188 mos.                   months, but found that his
NDAL          Bribery      contracts)     their performance. Trial                                        defense at trial was false, he
2006                                      evidence was that one of the                                    showed no remorse, and was
                                          contractors was paid $50                                        in a more aggravated position
                                          million to perform work that                                    than his bribe payers because
                                          was originally contracted at                                    he occupied a position of
                                          $27.8 million. The bribes to                                    public trust.
                                          Swann were in the form of                                       McNair, at 1224-34.
                                          hundreds of thousands of
                                          dollars of renovations at
                                          Swann’s residence. A
                                          significant portion of that
                                          work was billed to Jefferson
                                          County. See Generally
                                          United States v. McNair, et
                                          al., 605 F.3d 1152, 1176-80
                                          (11th Cir. 2010).
US v. White   Conspiracy   $1.3 million   Evidence showed that White     188 – 235 mos. 120 mos.          Judge Coogler noted at
(Public       , Federal                   as the head of the Jefferson                  (36% reduction)   sentencing that White had
Official)     Program                     County Commission                                               done “a lot of admirable
NDAL          Bribery                     accepted $22,000 in cash                                        things in his life,” but that the
2006                                      payments from a contractor.                                     sentence imposed was
                                          The contractor netted $1.3                                      warranted because he was a
                                          million dollars on contracts                                    public official and took
                                          with the County.                                                advantage of his position.
                                                                                                          United States v. White, 663
                                                                                                          F.3d 1207, 127-18 (2011)
US v. Grady   Conspiracy   $178 million   Both Pugh and his son paid     Unk.           45 mos.           In addition to the massive
Pugh          , Federal                   $350,000 in bribes to McNair   Assumed 188    (76% reduction)   contract award, the
(Briber)      Program                     and were paid over $178        – 235 mos.                       Government put on evidence
NDAL          Bribery                     million dollars by Jefferson                                    at trial that Pugh had moved
2006                                      County.                                                         $20 million to an offshore
                                                                                                          bank account.
                                                                                                          http://blog.al.com/spotnews/2
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                                                                                    007/04/pugh_sr_gets_jail_tim
                                                                                    e_for_con.html

*Other    Bribes from                            Unk.          41 to 78 mos.        Various media reports.
McNair    $375,000 to                            Assumed 188
Bribers   $475,000;                              – 235 mos.
          contract
          awards from
          $20 million to
          $60 million
